 Case 15-42604      Doc 105    Filed 01/30/20 Entered 01/31/20 13:08:01             Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                        )                            BK No.:     15-42604
GEOFFREY LAURENCE GEPHART and )
JANELLE MARIE GEPHART         )                            Chapter: 13
                              )
                                                           Honorable Donald R. Cassling
                              )
                              )
          Debtor(s)           )

                              ORDER VACATING ORDER
                        GRANTING TRUSTEE'S MOTION TO DISMISS

       This cause coming before the Court on Debtors' Motion to Vacate January 9, 2020 Order
Granting Trustee's Motion to Dismiss Case for Failure to Make Plan Payments; the Court being fully
advised in the premises and having jurisdiction of the subject matter, IT IS HEREBY ORDERED:

     The Court's January 9, 2020 Order Granting Trustee's Motion to Dismiss Case for Failure to Make
Plan Payments is vacated.




                                                        Enter:


                                                                 Honorable Donald R. Cassling
Dated: January 30, 2020                                          United States Bankruptcy Judge

 Prepared by:
 Joseph S. Davidson
 SULAIMAN LAW GROUP, LTD.
 2500 South Highland Avenue
 Suite 200
 Lombard, Illinois 60148
 +1 630-575-8181
 jdavidson@sulaimanlaw.com
